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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )               8:11CR106
                     Plaintiff,               )
                                              )
       vs.                                    )                  ORDER
                                              )
SARAH PENNEY,                                 )
                                              )
                     Defendant.               )
       This matter is before the court on the motion to continue by defendant Sarah
Penney (Penney) (Filing No. 140). Penney seeks a continuance of the trial of this matter
which is scheduled for May 7, 2012. Penney’s counsel represents that government’s
counsel has no objection to the motion. Upon consideration, the motion will be granted.
However, no further continuances of the trial of this matter will be granted absent
an affidavit from counsel that a manifest injustice would occur if such a continuance
were not granted.
       IT IS ORDERED:
       1.     Penney's motion to continue trial (Filing No. 140) is granted.
       2.     Trial of this matter is re-scheduled for June 4, 2012, before Judge Joseph F.
Bataillon and a jury. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between May 2, 2012, and
June 4, 2012, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason that defendant’s counsel requires
additional time to adequately prepare the case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 2nd day of May, 2012.
                                                  BY THE COURT:
                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
